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                                Exhibit 1
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                          UNITED STATES DISTRICT COURT
                           MIDDLE DISTRICT OF FLORIDA
                               ORLANDO DIVISION

ABSEN, INC.,

                       Plaintiff,

v.                                                         Case No: 6:19-cv-905-Orl-40LRH

LED CAPITAL, LLC and MARCEL
DEKEYZER,

                 Defendants.
___________________________________

                      DEFAULT JUDGMENT IN A CIVIL CASE

Decision by Court.     This action came before the Court and a decision has been rendered.

       IT IS ORDERED AND ADJUDGED

That default judgment is entered against Dekeyzer, jointly and severally with LED Capital, and

in favor of Plaintiff “Absen Inc.” on Count III of the second amended complaint in the amount of

$2,470,168.27, with interest accruing at twelve percent per annum, as it relates to the First Note

for which sum let execution issue.



Date: April 6, 2020

                                              ELIZABETH M. WARREN,
                                              CLERK

                                              s/MJ, Deputy Clerk
